
The court,
(Sedgwick, Sewall, and Thacher, justices,) after taking time to consider, said, that upon the best consideration they could give the subject, it was their unanimous opinion, that the judgment must be entered against Emerson, for the damages found by the last verdict, and for the costs upon the review ; and that the former judgment be affirmed, to stand as a joint-judgment against all the original defendants.
The entry was ordered to be made—“And now all and singular the premises being seen and by the Court here fully understood, it is considered by the Court, that, the said David Pattee, and Mary his wife, recover against the said Asa Emerson [ * 483 ] *the sum of $17 damages, with their costs, incurred by them in this action of review, taxed at-, and that the former judgment,” &amp;c.

See the act of Feb. 26, 1787, sect. 3. (stat. 1786, c. 66.)

